                           UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF TENNESSEE
                                    AT GREENEVILLE



UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )               NO. 2:06-CR-20(05)
                                                      )
TIMOTHY COLLINS                                       )




                          MEMORANDUM OPINION AND ORDER

        This matter is before the Court to consider the defendant=s motion for reduction of sentence

pursuant to 18 U.S.C. ' 3582(c), based on Amendment 782 to the United States Sentencing

Guidelines, which lowers by two levels the base offense level for many drug offenses and which was

made retroactive on November 1, 2014. [Doc. 587]. The United States has filed a response arguing

that the defendant is not eligible for a reduction in sentence pursuant to 18 U.S.C. ' 3582(c) because

the defendant=s guideline range was based upon his career offender classification, and because

Amendment 782 does not reduce the career offender guidelines. [Doc. 590]. This motion will be

DENIED.

I.      Facts

        Following his guilty plea on June 25, 2007, the defendant was convicted of Count One of the

the indictment charging him with a conspiracy to distribute and possess with intent to distribute 500

500 grams or more of cocaine in violation of 21 U.S.C §§ 846, 841 (a)(1) and (b)(1)(A), and of

Count Two charging him with a conspiracy to distribute and possess with intent to distribute 50

grams or more of cocaine base in violation of 21 U.S.C §§ 846, 841(a)(1) and (b)(1)(A). Pursuant to




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Pursuant to a presentence report, based on a total offense level of 34 and a criminal history category

category of VI, premised upon his career offender status, Collins’s guideline range of imprisonment

imprisonment was 262 to 327 months. However, Count One carried a statutory mandatory minimum

minimum term of imprisonment of ten years, pursuant to 21 U.S.C. § 841(b)(1)(B), and count two a

two a mandatory term of life imprisonment, pursuant to 21 U.S.C. § 841(b)(1)(A). Prior to

sentencing, however, the government filed a motion for downward departure based on the

defendant’s substantial assistance pursuant to 18 U.S.C. § 3553(c). The government’s motion was

was granted and the defendant was sentenced, on November 20, 2007, to concurrent 228 month

terms of imprisonment on Counts 1 and 2. The defendant is currently scheduled for release from the

from the custody of the Bureau of Prisons on April 22, 2023.

II.      Discussion

         Under 18 U.S.C. ' 3582(c)(2), a district court has discretion to reduce the sentence of a

defendant Awho has been sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission." Because the defendant was determined

to be a career offender under USSG § 4B1.1(a), the defendant's offense level and criminal history

category were both determined by reference to Subsection (b) of that guideline, and not the quantity

of drugs for which he was held accountable. Consequently, the defendant's guideline range has not

been lowered as a result of Amendment 782's reduction to the Drug Quantity Table in Section

2D1.1. See, e.g., United States v. Thompson, 714 F.3d 946, 949 (6th Cir.2013) (Court held that

previous amendments to drug quantity table did not apply to lower sentence of career offender).




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III. Conclusion

       Accordingly, it is hereby ORDERED that the defendant=s motion for reduction of his

sentence is DENIED. [Doc. 587]


      ENTER:



                                                                  s/J. RONNIE GREER
                                                            UNITED STATES DISTRICT JUDGE




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